       Case 1:14-cr-00093-RHB ECF No. 22 filed 10/22/14 PageID.136 Page 1 of 5



                        UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION
____________________________________________________________________________________
UNITED STATES OF AMERICA,
      Plaintiff
                                                Case No. 1:14-CR-93
v.                                              Hon. Robert Holmes Bell

CREIGHTON GOINS,
       Defendant
            _______________________________________________________________
United States Attorney                                  Marek & Associates, PLLC.
Attn: Christopher O’Connor                              Attn: James A. Marek (P71554)
P.O. Box 208                                            99 West Apple Avenue #A
Grand Rapids, MI 49501                                  Muskegon, MI 49440
____________________________________________________________________________________
            DEFENDANT’S SUPPLEMENTAL SENTENCING MEMORANDUM


       NOW COMES the Defendant, Creighton L. Goins, by his attorney James A. Marek, and
offers this Supplemental Sentencing Memorandum for the Court’s consideration for his
sentencing on October 23, 2014, at 1:15 p.m. Mr. Creighton Goins moves this Court to impose
a sentence at or below the low end of the advisory sentencing guideline range. In support of
his requested sentence and this motion, Mr. Creighton Goins states as follows:


                                        BACKGROUND
       Mr. Goins entered a plea of guilty to one count of Wire Fraud, in violation of Title 18,
United States Code, Section 1343, pursuant to a written plea agreement. Count One charged
Mr. Goins with Wire Fraud by knowingly devising a scheme to defraud and having the intent
to defraud in order to obtain property by means of false or fraudulent pretenses,
representations or promises, and having done so by wire communication.
       Mr. Goins has been free on bond since his date of Arraignment, and no further charges
have been levied against Mr. Goins, either in Federal or State Court.
       On or about the 17th day of October 2014, the Government filed a Sentencing
Memorandum. The Government’s Sentencing Memorandum references the Defendant


                                            Page	  1	  of	  5	  
	  
       Case 1:14-cr-00093-RHB ECF No. 22 filed 10/22/14 PageID.137 Page 2 of 5



utilizing a RushCard for the purchase of items and everyday living expenses. This is a correct
statement. The Defendant has previously filed bankruptcy and is unable to obtain a proper
credit card for use in purchases. As a result, the Defendant secured a RushCard, which has the
intended purpose of acting like a credit card/ATM card, but requires the Defendant to deposit
funds onto said card. There is absolutely nothing illegal about this act, nor is there any
negative connotation that can be drawn or should be drawn from the use of a RushCard, as
thousands of Americans who are unable to obtain regular credit cards, but still want to utilize
the credit card machines and concepts, utilize same on a daily basis. The Defendant has
previously provided the probation office with a copy of the applicable RushCard statements
for his account.
       The Government claims that the Defendant made several large deposits into the
RushCard account, but upon review of the records supplied by the Government in their
Exhibit 1, the largest deposit onto the RushCard was a payroll deposit on July 1, 2014, of
$2,851.75. This payroll/income earned was fully disclosed to the probation
department/Government, and quite frankly, is not “several large deposits”.
       The Government further claims that the Defendant provided false and misleading
information related to his monthly income. The Government inquired as to what the
Defendant’s monthly income averaged, and the Defendant reported approximately $2,080.00.
The Defendant’s monthly income, as evidenced by the payroll deposit, averaged about
$2,851.75 for the month of July. The difference being $771.00. The Defendant was asked what
his average monthly income was. The Defendant’s income in June 2014 was $2,838.51,
pursuant to deposit upon the RushCard, the Defendant’s income in August 2014, pursuant to
deposit upon the RushCard, was $549.50, and in September 2014, shown by deposit onto the
RushCard, was $1,409.33. The income average from June 2014, through September 2014, is still
less than $2,000.00 average monthly payroll deposit, which is lower than the Defendant
originally indicated was an average income. Where is the material and intentional
misrepresentation?
       The Government further claims that the Defendant provided false and misleading
information in that the Defendant reported approximately $21.00 in his Credit Union account
in July 2014 at the time of the probation meeting. A review of the Credit Union account shows

                                            Page	  2	  of	  5	  
	  
        Case 1:14-cr-00093-RHB ECF No. 22 filed 10/22/14 PageID.138 Page 3 of 5



that the balance was $26.00. How is that a false and misleading statement when it is verifiably
accurate?
        Furthermore, deposits onto the Rush Card are not a stream of income. Any deposits
either came from employment income, loans, gifts or otherwise, and the Defendant’s income
stream was fully reported by Defendant as income.
        The Government further alleges that the Defendant misrepresented his financial
position by not disclosing a retirement asset. The Defendant’s previous employer, Trinity
Health, maintained an exempt retirement account for Defendant. On or about June 15, 2014, a
check in the amount of $45,863.98 was sent to Defendant. Defendant deposited that check into
his personal account on or about June 18, 2014. Those funds were then withdrawn from
Defendant’s account and deposited into an account for his wife (pending dissolution in
Muskegon County).
        The Defendant had deposited and transferred the respective income out of his
possession and control, prior to his meeting with the respective probation officer. On or about
the week of October 13, 2014, the probation officer and Defendant’s counsel had
communications regarding the officer’s request for additional information related to the
RushCard, and retirement asset. The officer was informed that Defendant would attempt to
secure documentation to show where the funds went from the retirement account monies.
Those documents were provided to the probation officer via email on or about October 14,
2014.
        The expenses that were forwarded to the probation department were totaling
approximately $29,616.88. This leaves a total sum of $16,247.10, at best, without a specific
expense designation. The sums were deposited in June 2014, it is now October 2014. The
Defendant is maintaining a family of five, living without a consistent income, and with
mounting expenses, over the past four months. The money was spent to maintain the family
and Defendant, and furthermore, did not need disclosure as it was already transferred at the
time of the interview.




                                            Page	  3	  of	  5	  
	  
       Case 1:14-cr-00093-RHB ECF No. 22 filed 10/22/14 PageID.139 Page 4 of 5



                                OBSTRUCTION OF JUSTICE CLAIM
       The Government accurately defines USSG 3C1.1, and Application Note 5(c) & 6, as
attached thereto.
       However, the application of the Statutory cites as argued by the Government is
improper.
       As set forth above, the Defendant, at the time of his presentence investigation, disclosed
his income, disclosed the assets held by him at that time, and provided all that information to
the probation officer. The Defendant has expended his retirement asset on daily living
expenses, trying to pay down debt prior to going to prison, providing his son with that which
was needed for school, providing his wife with what she needs, and generally living off of the
retirement asset during the last 4/5 months. It is not obstruction when a Defendant truthfully
answers a question posed to him. The Defendant was not under a restriction from spending
money, receiving retirement buyout monies, or otherwise having to allocate funds in certain
directions.
       Upon request of the probation officer, the Defendant did all that he could do in regards
to providing documentation showing where money was spent, and what money was obtained,
especially under the tight time constraints in this matter. Simply because the Government
attempts to “conclude” that the Defendant obstructed Justice does not mean that it is true.
       In closing, it is important to note that the Defendant’s specific responses and
disclosures, as well as the probation officers specific inquiries were absent from the
Government’s analysis. The Government inquired as to what asset the Defendant held at the
time of the sentencing investigation, and was told specifically what the Defendant held.


                                ACCEPTANCE OF RESPONSIBILITY
       The Defendant stands upon his previous Sentencing Memorandum as same pertains to
his acceptance of responsibility, and indicates that he, prior to a warrant even being issued,
agreed to plead guilty to the charge, accepted the restitution amounts provided to him,
assisted the Government by engaging in interviews with agents of the Government, and has to
this date, not attempted to hinder the orderly administration of justice and punishment.



                                            Page	  4	  of	  5	  
	  
       Case 1:14-cr-00093-RHB ECF No. 22 filed 10/22/14 PageID.140 Page 5 of 5



       The Government attempts to utilize a RushCard argument, and a previously dissipated
retirement income argument, to argue that responsibility has not been accepted. However, the
government seems to quickly forget the steps the Defendant took to prevent the excessive
waste of time and resources in prosecuting this matter, in having truthfully and honestly
stated that he conducted the enterprise, and in humbly submitting himself to this Court.


       WHEREFORE, the Defendant, Creighton L. Goins, respectfully requests that he be
sentenced at the lowest end of the sentencing guideline, or below as deemed lawfully
appropriate by this Honorable Court.



Dated: October 22, 2014                                               /s/James A. Marek
                                                                      James A. Marek
                                                                      Attorney For Creighton Goins
                                                                      99 W. Apple Avenue #A
                                                                      Muskegon, MI 49440
                                                                      616-617-1023




                                           Page	  5	  of	  5	  
	  
